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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARKETING INTEGRALE CO.,                           §
                                                   §
       Plaintiff,                                  §
v.                                                 §
                                                        CIVIL ACTION NO. 4:12-CV-00880
                                                   §
TODD ROBERSON, ET AL.,                             §
                                                   §
          Defendants.                              §

           DEFENDANT MESA MARKETING, LLC’S MOTION TO DISMISS

       Defendant Mesa Marketing, LLC (“Mesa Marketing” or “Defendant”), pursuant to Rules

8(a), 12(b)(6) and 12(e) of the Federal Rules of Civil Procedure, seeks an order dismissing all

claims asserted against it in the First Amended Complaint (“FAC”) or, in the alternative, an

order requiring that plaintiff Marketing Integrale Co. (“Marketing Integrale” or “Plaintiff”)

provide a more definite statement of its claims.

                                       INTRODUCTION

       The law requires that an initial pleading contain a short and plain statement that provides

a defendant with fair notice of the claims at issue and the grounds on which they rest. In order to

survive a motion to dismiss, a party asserting a claim for affirmative relief must allege sufficient

factual matter to state a claim for relief that is plausible on its face.      A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged. Where the well-pleaded facts

do not permit the court to infer more than the mere possibility of misconduct, the plaintiff’s

claims must be dismissed.

       In this case, plaintiff Marketing Integrale has vaguely alleged that some combination of

the named defendants—which include the movant, one or more individuals in Georgia, four
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websites, unidentified John Does 1-10, and unnamed ABC Corporations 1-10—participated in

hacking Plaintiff’s remotely held computer servers to steal proprietary email lists. Rather than

provide adequate notice of the bases for its claims against defendant Mesa Marketing, however,

the FAC mixes speculation, legal conclusions, and a bare minimum of factual allegations to

create only a skeletal imitation of a true pleading. It is the type of incomplete and ultimately

implausible complaint that federal courts now routinely dismiss. Even where Plaintiff’s claims

can be discerned, the FAC fails to address fundamental elements of the stated causes of action,

particularly as they concern defendant Mesa Marketing. Simply put, because the FAC fails to

state any claim upon which relief against defendant Mesa Marketing can be granted, defendant

Mesa Marketing should be dismissed from this lawsuit.

                                                   BACKGROUND

I.      Procedural Background

        Plaintiff Marketing Integrale first filed a complaint against multiple defendants on March

22, 2012. Dkt. No. 1. The original complaint did not name Mesa Marketing as a defendant. Id.

On April 9, 2012, the FAC was filed, adding Mesa Marketing as a defendant to this action. Dkt.

No. 5. Defendant Mesa Marketing waived service of the FAC on April 18, 2012, a copy of

which waiver was filed with this Court on April 24, 2012, Dkt. No. 7, thus making defendant

Mesa Marketing’s deadline to file its initial responsive pleading on or before June 18, 2012.

II.     The Plaintiff’s Allegations1

        Plaintiff Marketing Integrale claims it is a web-based company, incorporated in Quebec,

Canada, offering marketing and customer relations services via the Internet. FAC at ¶ 1. More


1
 Although the bulk of Plaintiff’s allegations are made “[u]pon information and belief,” and although Defendant
Mesa Marketing vehemently denies that it has any involvement in the actions made the subject of this suit, for
purposes of deciding this Motion the facts in the FAC must be taken as true. See generally Ashcroft v. Iqbal, 556
U.S. 662 (2009).



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specifically, it allegedly creates, edits, disseminates and manages marketing newsletters in

various industries.   Id. at ¶ 11.   Plaintiff Marketing Integrale also manages and maintains

consumer data, including email lists used in seasonal email opt-in marketing campaigns, and

charges customers a fee for access to its email distribution services. Id. at ¶ 12 – 13.

       Plaintiff claims that some combination of the named defendants, and other as-yet

unknown persons, hacked into remotely operated servers “in order to gain access, copy, and

distribute mail directly to persons on [the Plaintiff’s] proprietary e-mail customer lists.” Id.

at ¶ 13. The servers at issue are apparently operated by a third-party, I-contact, who has not been

joined in this action. Id. According to plaintiff Marketing Integrale, “after the Defendants stole

[the Plaintiff’s] email lists”, Defendants somehow “incorporated the use of several websites and

other associated servers in order to complete their illegal activity,” Id. at ¶ 14. The FAC then

lists several domain names, Twitter account names, and a Facebook account that Plaintiff

somehow attempts to link to the appropriation and misuse of its proprietary email customer lists.

Id. at ¶¶ 16-21.

       Based on these allegations, Plaintiff asserts violations of two federal statutes: (1) the

Stored Wire and Electronic Communications Act, 18 U.S.C. §§ 2701 et seq., being a subpart of

the Electronic Communications Privacy Act; and (2) the Computer Fraud and Abuse Act, 18

U.S.C. §§ 1030 et seq. See FAC at ¶¶ 22-27 and 28-38.

       A.      Plaintiff’s Allegations Against Mesa Marketing

       The only allegations specifically directed at defendant Mesa Marketing are set forth in

Paragraph 3 of the FAC, which states in full that:

            Upon information and belief Defendant MESA MARKETING LLC,
            owner of otcmarketbulls.com is responsible for some or all of Plaintiff’s
            damages. Defendant MESA MARKETING, may be served by providing a
            copy of this Complaint to counsels, Christine N. Wiseman, Barrister and



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            Solicitor, GILMOUR BARRISTERS, Suite 3 -1 Royce Avenue,
            BRAMPTON, Ontario L6Y 1J4; or through any other counsel they may so
            designate, or through their registered agent THE COMPANY
            CORPORATION, located 2711 CENTERVILLE ROAD SUITE 400,
            WILMINGTON, DE or wherever they may be found.
FAC at ¶ 3. This is the only mention of defendant Mesa Marketing in the FAC, and contains the

sum of all facts specifically mentioning defendant Mesa Marketing or the website it is alleged to

own, otcmarketbulls.com. Notably, all remaining facts and allegations in the FAC do not

distinguish among the “Defendants,” a category that includes at least one other named

individual, four websites, unidentified John Does 1-10, and unnamed ABC Corporations 1-10,

none of whom appear to be related to defendant Mesa Marketing.

                                 ARGUMENT & AUTHORITY

I.     Defendant Mesa Marketing Should Be Dismissed For Failure to State A Claim

       A.      Legal Standards

       Rule 8(a)(2) of the Federal Rules of Civil Procedure requires a party asserting a claim for

relief to set forth “a short and plain statement of the claim showing that the pleader is entitled to

relief.” In order to comply with Rule 8(a)(2) and survive a motion to dismiss, the party’s

“[f]actual allegations must be enough to raise a right to relief above the speculative level.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also Gonzalez v. Kay, 577 F.3d 600, 603

(5th Cir. 2009). As the Supreme Court has explained in Iqbal, “[t]o survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550

U.S. at 570). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. “[W]here the well-pleaded facts do not permit the court to infer more than the




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mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the

pleader is entitled to relief.’” Id. at 1950 (quoting Fed. R. Civ. P. 8(a)(2)). In addition, the

Federal Rules of Civil Procedure require that “each allegation must be simple, concise, and

direct.” Fed. R. Civ. P. 8(d).

       In determining whether a plaintiff’s factual allegations are sufficient to survive a motion

to dismiss, the court accepts all well-pleaded facts as true and views those facts in the light most

favorable to the plaintiff. Gonzalez v. Kay, 577 F.3d at 603. Mere legal conclusions, however,

unsupported by factual allegations, are not entitled to the presumption of truth and do not “show”

that a pleader is entitled to relief. See Iqbal, 556 U.S. at 696, 678 (“naked assertions devoid of

further factual enhancement” and “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice”); Rios v. City of Del Rio, Tex., 444

F.3d 417, 421 (5th Cir. 2006) (“conclusory allegations or legal conclusions masquerading as

factual conclusions will not suffice to prevent a motion to dismiss”) (internal citations and

quotation marks omitted); Jones v. Alcoa Inc., 339 F.3d 359, 363 n.4 (5th Cir. 2003)

(“conclusory allegations or unwarranted deductions of fact” are not accepted as true).

       B.      The Complaint Contains Insufficient Allegations Against Defendant Mesa
               Marketing

       The FAC does not allege facts suggesting wrongdoing by defendant Mesa Marketing and

fails to plead a facially plausible claim against it. The only truly factual allegation contained in

the FAC is that defendant Mesa Marketing owns the website otcmarketbulls.com; beyond this,

plaintiff Marketing Integrale alleges that defendant Mesa Marketing is somehow responsible for

some or all of the Plaintiff’s damages, but fails to explain how. See FAC. at ¶ 3. All additional

factual assertions are improperly directed against all defendants. And though the FAC recites




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specific facts related to several websites, it makes no mention of what role the website

otcmarketbulls.com or defendant Mesa Marketing played in causing harm to the Plaintiff.

       Plaintiff’s pleading leaves open several fundamental questions. What role did defendant

Mesa Marketing play in the hacking scheme alleged by the Plaintiff? Who acted on defendant

Mesa Marketing’s behalf? How does the website otcmarketbulls.com—allegedly owned by

defendant Mesa Marketing—figure into Plaintiff’s claims? The FAC simply does not allege

enough facts to infer defendant Mesa Marketing’s misconduct. Instead, it contains only blanket,

undifferentiated allegations that some or all of the defendants hacked into a “protected

computer” (i.e., Plaintiff’s remotely held servers) which caused the Plaintiff to suffer harm. See

FAC. at ¶¶ 13-14, ¶¶ 28-38.

       This broad-brush approach does not provide sufficient factual information to allow the

Court to draw the reasonable inference that defendant Mesa Marketing is liable for any

misconduct. See Iqbal, 556 U.S. 678-79. As the Supreme Court has stated, “[t]hreadbare

recitals of a cause of action’s elements, supported by mere conclusory statements,” are

insufficient to withstand a motion to dismiss. Id. at 678. As one trial court recognized, a

complaint consisting of allegations made against a group of defendants generically lacks

“sufficient specificity to state a claim against” one of the named defendants. Leinneweber v.

Unicare Life & Health Ins. Co., A-09-CA-657-SS, 2009 WL 3837873 (W.D. Tex. Nov. 12,

2009) (citing Cavallini v. State Farm Mut. Auto. Ins. Co., 44 F.3d 256, 261 (5th Cir. 1995).

       C.      The FAC Fails to Allege Sufficient Facts to State a Claim Against Defendant
               Mesa Marketing Under the Stored Wire and Electronic Communications Act

       Together, Sections 2701 and 2707 of the Stored Wire and Electronic Communications

Act create a private right of action for a defendant’s unlawful access to electronically stored

communications where “the conduct constituting the violation is engaged in with a knowing or



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intentional state of mind.” 18 U.S.C. §§ 2701, 2707. As one court has stated, “[t]he purpose of

§ 2701 is to prevent unauthorized access to a facility through which an electronic communication

service is provided.” In re Am. Airlines, Inc., Privacy Litig., 370 F. Supp. 2d 552, 558 (N.D.

Tex. 2005).

       As argued above, Plaintiff has failed to plead facts sufficient to reasonably infer that

defendant Mesa Marketing participated in the unauthorized access to any of Plaintiff’s servers.

The FAC does not state what role Mesa Marketing allegedly played in the hacking scheme at

issue or who acted on defendant Mesa Marketing’s behalf. See FAC at ¶¶ 3, 10-21. And unlike

the Plaintiff’s Computer Fraud and Abuse Act cause of action in which it tries to muster some

claim of damages (albeit improperly as noted below), the allegations under Sections 2701 and

2707 are wholly insufficient because the FAC does not state how the Plaintiff has been damaged

by any of the Defendants’ alleged acts whatsoever. Id. These deficiencies warrant dismissal.

       In addition, the FAC fails to allege that defendant Mesa Marketing acted with the

requisite state of mind (i.e., knowingly or intentionally). See 18 U.S.C. § 2707 (providing a

private right of action for wrongful conduct “engaged in with a knowing or intentional state of

mind may”). Although Plaintiff states generically that “[t]he Defendants intentionally accessed

the Plaintiff’s web servers,” there are no facts in the FAC that directly support this allegation. In

this regard, the allegations are similar to those at issue in Butera & Andrews v. International

Business Machines Corp., in which defendant IBM prevailed on a motion to dismiss for failure

to state a claim. See Butera & Andrews v. International Business Machines Corp., 456 F. Supp.

2d 104, 107 (D.D.C. 2006). In Butera & Andrews, the plaintiff alleged violations of 18 U.S.C. §

1030, 2701(a), and 2707. Id. As in this case, the plaintiff in Butera claimed “upon information

and belief” that certain John Does—employees supposedly acting on behalf of IBM—




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perpetrated damaging cyberattacks. Id. at 107. En route to dismissing the plaintiff’s claims, the

Court found it significant that the plaintiff failed to allege that IBM had “orchestrated,

authorized, or was otherwise aware of” alleged attacks on the plaintiff’s computer network or

how IBM sought to benefit from such attacks. Id. at 107.

         Here, Plaintiff has not stated how defendant Mesa Marketing participated in the alleged

violations of Sections 2701 and 2707, whether as a direct participant, orchestrator, abettor, or

accomplice after the fact. Moreover, Plaintiff has not pleaded that defendant Mesa Marketing or

anyone acting on its behalf acted with the requisite intentional or knowing frame of mind.

Instead, Plaintiff rests its claim on “information and belief” and on a conclusory recitation of the

elements of the statutory claims at issue. Taken as a whole, the FAC has not “not nudged [the

Plaintiff’s] claims across the line from conceivable to plausible,” and should be dismissed.

Twombly, 550 U.S. at 570.

         D.       The Complaint Fails to Allege Sufficient Facts to State a Claim Against
                  Defendant Mesa Marketing Under the Computer Fraud and Abuse Act

         Subsection (a) of Section 1030 of the Computer Fraud and Abuse Act (“CFAA”)

describes five types of activities that can give rise to criminal liability, all of which relate to

unauthorized access to computers and cybercrimes. 18 U.S.C.A. § 1030(a) (West 2000 & Supp.

2011). In addition to codifying criminal conduct and sanctions, the CFAA also provides a

private right of action for certain wrongful acts, but only where a defendant’s alleged conduct

“involves 1 of the factors set forth in subclauses (I), (II), (III), (IV), or (V) of subsection

(c)(4)(A)(i).” Id. § 1030(g).2



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  The five factors set forth in the relevant subclauses are: “(I) loss to 1 or more persons during any 1-year
period . . . aggregating at least $5,000 in value; (II) the modification or impairment, or potential modification or
impairment, of the medical examination, diagnosis, treatment, or care of 1 or more individuals; (III) physical injury
to any person; (IV) a threat to public health or safety; [or] (V) damage affecting a computer used by or for an entity



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         As an initial matter, the FAC fails to properly plead a violation of the CFAA. It does not,

for example, allege how the conduct of any Defendant—let alone defendant Mesa Marketing—

has given rise to a private right of action under the statute. Paragraph 36 of the FAC alleges that

the Plaintiff suffered “a loss aggregating substantially more than the $5,000 amount required

under 18 U.S.C. § 1030(a)(5)(B)(i).” FAC at ¶ 36. But the cited provision does not exist. The

Complaint also does not specifically allege a violation of any subclause of § 1030(c)(4)(A)(i)(I)–

(V), as required to state a private cause of action under § 1030(g). See 18 U.S.C. § 1030(g). The

Court should order dismissal on this basis alone.

         But even assuming that the facts set forth by Plaintiff sufficiently state a claim under one

of the subclauses of § 1030(c)(4)(A)(i)(I)–(V), the FAC fails to plead all the required elements of

a claim. Most importantly, the FAC fails to adequately plead damages. To state a civil claim

under the CFAA, the Plaintiff must allege a “loss to 1 or more persons during any 1-year

period . . . aggregating at least $5,000 in value.” Id. at § 1030(c)(4)(a)(i)(I).3 In turn, the term

“loss” is defined as “any reasonable cost to any victim, including the cost of responding to an

offense, conducting a damage assessment, and restoring the data, program, system, or

information to its condition prior to the offense, and any revenue lost, cost incurred, or other

consequential damages incurred because of interruption of service.” Id. at §1030(e)(11).

         As this Court found in Quantlab Techs. Ltd. v. Godlevsky, “the term ‘loss’ encompasses

only two types of harm: costs to investigate and respond to a computer intrusion, and costs

associated with a service interruption.”              719 F. Supp. 2d 766, 776 (S.D. Tex. 2010).                     In

Quantlab, the plaintiff made no allegation that the defendant’s conduct resulted in an interruption

of the United States Government in furtherance of the administration of justice, national defense, or national
security.” 18 U.S.C. § 1030(c)(4)(A)(i)(I)–(V).
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  Here, there is no indication that this case involves alleged interference with a medical diagnosis, physical injuries,
threats to public health or safety, or an intrusion into government computers, which would give rise to civil liability
under 18 U.S.C. § 1030(c)(4)(A)(i)(II) – (V), which leaves only § 1030(c)(4)(A)(i)(I) as a basis for relief.



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of service or an investigation or response to the defendant’s alleged access of a protected

computer. Id. This constituted a failure to state a claim under the CFAA. Id.

        Like the plaintiff in Quantlab, this Plaintiff’s allegations of damages under § 1030 do not

support a plausible claim of cognizable loss as that term is defined by statute. Compare id. with

FAC at ¶ 36. The allegation that the Defendants stole property valued at over a million dollars

does not fall within the statutory definition of “loss.” FAC. at ¶ 30. Moreover, the claim that

Plaintiff’s § 1030 damages caused include “a loss aggregating substantially more than the $5,000

amount required” is entirely conclusory and fails to state whether such losses were suffered

within the one-year period prescribed by statute. FAC at ¶ 36. Plaintiff’s insufficient allegations

of loss provide an independent and additional basis for dismissal of its claims under the CFAA.

II.     Alternatively Plaintiff Should Be Required to Replead With Greater Specificity

        Plaintiff has already amended its Complaint once, and presumably sets forth the

Plaintiff’s best statement of its claims. If, however, the Court does not believe that the claims

against defendant Mesa Marketing should be dismissed at this stage, then it should at least

require that the Plaintiff provide a more definite statement. When an initial pleading is so vague

or ambiguous that a party cannot reasonably be required to frame a responsive pleading, the

party may move for a more definite statement before submitting a responsive pleading. See Fed.

R. Civ. P. 12(e). A defendant should not be forced to guess at the facts giving rise to claims

against it.

        Here, Plaintiff’s live pleading lacks a short and plain statement of the claims showing its

entitlement to relief from defendant Mesa Marketing. As a result, defendant Mesa Marketing

cannot reasonably frame an answer to the claims as asserted. In the event that this action is not

dismissed, Plaintiff should be ordered to replead in order to address each element of the causes




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of action asserted in the FAC and to include sufficient and specific factual allegations that are

aimed against Mesa Marketing.

III.    Conclusion

        For the reasons stated above, defendant Mesa Marketing respectfully requests that the

Court dismiss Plaintiff’s First Amended Complaint as to defendant Mesa Marketing.

Alternatively, defendant Mesa Marketing asks that the Court order Plaintiff to provide a more

definite statement of its claims, and to afford defendant Mesa Marketing such further relief to

which it may show itself justly entitled.

                                            Respectfully submitted,

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                                            ATTORNEYS FOR DEFENDANT
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                               CERTIFICATE OF SERVICE

       This pleading was served in compliance with the Federal Rules of Civil Procedure, today,

June 7, 2012, through the Court’s CM/ECF system, on the following counsel of record:


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                   ATTORNEYS FOR PLAINTIFF MARKETING INTEGRALE CO.


                                           /s/ Charles S. Baker
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